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  18
                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
  19
       PARAMOUNT PICTURES                        Case No. 2:21-cv-06975-RGK (MAA)
  20
       CORPORATION, a Delaware                   The Honorable R. Gary Klausner
  21   corporation,
  22
                                                 DECLARATION OF PHILIP
                   Plaintiff,                    SILVERBERG ISO JOINT
  23                                             STIPULATION TO REQUEST
  24   vs.                                       CONTINUANCE

  25   FEDERAL INSURANCE COMP ANY,               Complaint Filed:   August 30, 2021
  26   an Indiana corporation,                   FAC Filed:          January 19, 2022

  27               Defendant.                    Trial Date: September 13, 2022
  28

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             DECLARATION OF PHILIP SIL VERB ERG ISO STIPULATION TO REQUEST CONTINUANCE
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                                    1         I, Philip Silverberg, declare as follows:
                                    2         1.     I am an attorney admitted pro hac vice to practice in this Court in
                                    3   connection with this action and am an attorney with the law firm Mound Cotton
                                    4   Wollan & Greengrass LLP, counsel of record for Defendant Federal Insurance
                                    5   Company ("Federal"). I have personal knowledge of all statements made in this
                                    6   Declaration and, if called as a witness, I could and would competently testify thereto.
                                    7         2.     Plaintiff, Paramount Pictures Corporation ("Paramount"), filed its initial
                                    8   Complaint on August 30, 2021, and thereafter, served the Complaint upon Federal on
                                    9   September 2, 2021.
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                                   10         3.     At the time of service of the Complaint, Federal was represented by a
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                          er,           different law firm.   Federal' s prior counsel and counsel for Paramount met and
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                          ~        12   conferred and agreed to extend the time for Federal to respond to the complaint to
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                                   15   potential conflict of interest and withdrew as counsel. On October 1, 2021, Mound
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                                   16   Cotton was engaged to represent Federal in this lawsuit.
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                          ll.      17         5.     On October 5, 2021, the parties entered into a joint stipulation providing
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                                   18   Federal an extension through November 5, 2021 to respond to the Complaint. (ECF
                                   19   11.) This Court entered an Order on October 19, 2021, granting the extension of
                                   20   time to respond. (ECF 12.)
                                   21         6.     On November 5, 2021, Federal filed its Answer and Affirmative
                                   22   Defenses. (ECF 14.)
                                   23         7.     On November 8, 2021, this Court issued an Order setting a Scheduling
                                   24   Conference for January 24, 2022. (ECF 15.)
                                   25         8.     On January 14, 2022, the parties filed a Stipulation allowing Paramount
                                   26   to file a First Amended and Supplemental Complaint, which added allegations
                                   27   concerning a "Notice of Nonrenewal of Insurance" issued by Federal to Paramount
                                   28   on October 18, 2021. (ECF 22.)
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                                                   DECLARATION OF PHILIP SILVERBERG ISO JOINT STIPULATION TO REQUEST
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   1         9.     This Court issued an Order on January 19, 2022, allowing Paramount to
   2   file the First Amended and Supplemental Complaint. (ECF 24.) That same day,
   3   Paramount filed the First Amended and Supplemental Complaint. (ECF 25.)
   4         10.    In preparation for the Scheduling Conference, the parties filed a Joint
   5   Report pursuant to FRCP 26(±) on January 18, 2022.           At the January 24, 2022
   6   Scheduling Conference, the Court issued an order that set the fact discovery deadline
   7   for June 15, 2022, the motion cut-off date for June 29, 2022, the final pretrial
   8   conference for August 29, 2022, and the trial date for September 13, 2022. (ECF
   9 27.)
  10         11.     Federal filed its Answer to the First Amended and Supplemental
  11   Complaint on February 2, 2022. (ECF 30.)
  12         12.     The parties both served their respective Initial Disclosures on February
  13   7, 2022. Paramount's Initial Disclosures identified 18 witnesses (10 of whom were
  14   employees of Paramount or its broker, HUB International) who likely have
  15   discoverable information. Federal's Initial Disclosures identified 13 witnesses who
  16   likely have discoverable information.
  17         13.     Thereafter, commencing on February 23, 2022, the parties served
  18   document requests, interrogatories, and various deposition notices.
  19         14.     Beginning in early February 2022, Federal also began the process of
  20   identifying custodians who likely had electronically stored information (ESI) that
  21   would be relevant to the litigation based on Paramount's operative complaint.
  22   Ultimately, Federal identified approximately 20 custodians, and Federal ran ESI
  23   search terms to gather potentially relevant information. In an effort to ensure it
  24   identified the documents relevant to the claims in Paramount's operative complaint,
  25   Federal used broad search terms, resulting in the identification of more than 175,000
  26   documents.     While many of these documents ultimately are not responsive to
  27   Paramount's discovery requests (e.g., the search terms pulled up many irrelevant
  28   documents that were unrelated to this litigation), Federal's counsel has, to date,
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                                  1   expended hundreds of hours rev1ewmg these documents for production to
                                  2   Paramount. The review process still is ongoing. While Federal began its production
                                  3   of documents on May 2, 2022, it does not expect to complete its document
                                  4   production until the first half of June 2022.
                                  5          15.     Additionally, Federal's counsel has gathered files and ESI from
                                  6   Federal's outside adjuster, Steve Leedecke, and from Federal's forensic accountant,
                                  7   Hannah McCanell. Federal also expects to produce those files by the first half of
                                  8   June 2022.
                                  9          16.     To date, Paramount has not begun its document production to Federal.
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                                 10   Although Federal has served deposition notices and/or deposition subpoenas for 6
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                                 11   fact witnesses identified in Paramount's initial disclosures, without Paramount's
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                                 12   production of documents, Federal lacks a meaningful way of determining which
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                       u;        13   other fact witnesses to decide to depose while keeping within the federal limit of 10
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                                 15          17.     Until each party substantially completes its document production and
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                                 16   receives and reviews the productions from the other party, as well as from third
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                       a.        17   parties, proceeding with fact depositions substantially limits each party's ability to
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                                 18   use key documents and likely trial exhibits during those depositions. Accordingly,
                                 19   fact depositions cannot be completed-in a manner that meaningfully aids the
                                 20   parties, the discovery process, and narrows the issues for trial- until substantially
                                 21   after the fact discovery cut-off of June 15, 2022.
                                 22          18.     Until each party substantially completes its document production and
                                 23   receives and reviews the productions from the other party, as well as from third
                                 24   parties, and takes fact witness depositions, the parties are without the fact discovery
                                 25   critical for meaningful expert disclosures, reports, and discovery.        Accordingly,
                                 26   expert disclosures and reports cannot be completed- in a manner that meaningfully
                                 27   aids the parties, the discovery process, and narrows the issues for trial- until
                                 28   substantially after the current deadline of June 15, 2022 for expert reports and
                                                                                   4
                                                   DECLARATION OF PHILIP SILVERB ERG ISO JOINT STIPULATION TO REQUEST
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                          1   disclosures under FRCP 26(a)(2)(D)(i) (requiring disclosure "at least 90 days before
                          2   the date set for trial").
                          3          I declare under penalty of perjury under the laws of the United States of
                          4   America that the foregoing facts are true and correct, and that this Declaration is
                          5   executed on May~ ' 2022 in New York, New York.
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